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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


HARRIS COUNTY, TEXAS, et al.,

                 Plaintiffs,

       v.

ROBERT F. KENNEDY, JR., in his official     No. 25-cv-01275 (CRC)
capacity as Secretary of Health and Human
Services, et al.,

                 Defendants.



                  DEFENDANTS’ OPPOSITION TO PLAINTIFFS’
                  MOTION FOR A PRELIMINARY INJUNCTION
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                                        INTRODUCTION

       Plaintiffs, four local governments and a nationwide labor union, move for a preliminary

injunction to order the federal government to payout, potentially, billions of dollars in COVID-

19 era grants, which the government recently terminated. But this Court does not have

jurisdiction over this lawsuit. Under the Supreme Court’s recent decision, Department of

Education v. California, 604 U.S.---, 145 S. Ct. 966 (2025) (per curiam), Plaintiffs’ grant-related

claims—styled under the Administrative Procedure Act (APA)—are, in essence, contract-based

claims, that are subject to the exclusive jurisdiction of the Court of Federal Claim, under the

Tucker Act. This case, which Plaintiffs bring against Defendants Department of Health and

Human Service (HHS) and the Centers for Disease Control and Prevention (CDC) (and the

agency heads), is indistinguishable in all material respects from Department of Education, which

is binding precedent here. From the outset, the Court therefore should deny the Motion because

Plaintiffs cannot make the requisite “clear showing” of likelihood of success on the merits, when

they have brought their case in the wrong court.

       Even if the Court had jurisdiction, Plaintiffs’ claims are not reviewable under the APA.

Plaintiffs’ APA claims challenge what they call a “Mass Termination Decision,” but Plaintiffs

lack standing to challenge any such decision, as opposed to the individual grant terminations that

Plaintiffs claim are actually harming them and whose reinstatement might redress Plaintiffs’

alleged injury. Any such “Mass Termination Decision” also would not qualify as “final agency

action” under the APA and any effort to challenge such a decision would constitute an

unreviewable “programmatic challenge.”

       And even if the Court reached the merits, the APA and constitutional claims fail.

Defendants provided a rational explanation for terminating the grants, explaining in part, “Now

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that the pandemic is over, the grants and cooperative agreements are no longer necessary as their

limited purpose has run out.” In doing so, HHS properly utilized the termination clauses in the

grants, which incorporated HHS regulations authorizing “for cause” termination. Moreover,

Defendants have not acted contrary to law. The underlying COVID-19 supplemental

appropriations statutes directed HHS to allocate money for “grants” or “cooperative agreements”

to “state, tribal, local, and territorial entities” (“STLTs”). These lump-sum appropriations

statutes generally specified a minimum amount to be allocated to STLTs. HHS not only abided

by this instruction, but awarded more to the STLTs than the amounts specified by Congress, by

the dates specified in the relevant appropriations statutes. HHS thus has not violated any statute

or the Constitution.

       The remaining preliminary injunction factors also strongly favor the federal government.

Plaintiffs do not show irreparable harm, because they are just seeking money from the federal

government, which they can pursue in the Court of Federal Claims. In contrast, as the Supreme

Court observed in Department of Education, the federal government, as a practical matter, has no

hope of recovering the terminated funds once they are disbursed, even if the government

ultimately prevails on the merits. The proposed injunction also would be a profound intrusion

into the prerogatives of the Executive Branch.

       In the event the Court disagrees and issues an injunction, any relief should extend only to

the grants received (directly or indirectly) by the four named local government plaintiffs, which

are specifically identified in Plaintiffs’ moving papers. Plaintiff American Federation of State,

County and Municipal Employees, AFL-CIO (“AFSCME”) lacks standing, and the moving

papers and record are devoid of any specifics to support the extraordinarily broad relief




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AFSCME seeks. The Court also should require a bond under Federal Rules of Civil Procedure

65(c).


                                           BACKGROUND

I.        COVID-19 Appropriations Statutes

          Plaintiffs challenge the termination of grants awarded, either directly or indirectly

through state agencies, under the following five COVID-19 appropriations bills. 1 In each,

Congress appropriated money to HHS (directly or through CDC). Excerpts of relevant portions

are included in the Exhibits:

         The American Rescue Plan Act of 2021 (“ARPA”) Pub. L. No. 117-2, 135 Stat. 4
          (“ARPA”) (See Ex. A)
         The Coronavirus Aid, Relief, and Economic Security Act, Pub. L. No. 116-136, 134 Stat.
          281 (2020) (“CARES”) (See Ex. B)
         The Coronavirus Preparedness and Response Supplemental Appropriations Act, 2020,
          Pub. L. No. 116-123, 134 Stat. 146 (“CPRSA”) (See Ex. C)
         The Coronavirus Response and Relief Supplemental Appropriations Act, (2021) Pub. L.
          No. 116-260, 134 Stat. 1182 (2020) (“CRRSAA”) (See Ex. D)
         The Paycheck Protection Program and Health Care Enhancement Act, Pub. L. No. 116-
          139, 134 Stat. 620 (2020) (“PPP”). (See Ex. E)

          These appropriations statutes generally direct, with varied wording, a minimum amount

of funding to be provided by HHS to STLTs. Some of these bills also specify the date by which

the funding must be made available and/or expended. For example, The CARES Act provided

$4.3 billion to the CDC:

          to remain available until September 30, 2024, to prevent, prepare for, and respond to
         coronavirus, domestically or internationally: Provided, That not less than
         $1,500,000,000 of the amount provided under this heading in this Act shall be for
         grants to or cooperative agreements with States, localities, territories, tribes, tribal
         organizations, urban Indian health organizations, or health service providers to tribes
         ....


1
 As explained further below, the Complaint and Motion do not clearly specify which
appropriation statutes underly claims by AFSCME.
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      See 134 Stat. at 554, Ex. B.

II.    HHS awarded more to STLTs than Congress specified, and HHS ultimately
       terminated the remaining grants at the end of the COVID-19 public health
       emergency

       For each appropriation statute, HHS awarded at least the full amount of money Congress

instructed should go to STLTs, by the date set by Congress. In most cases, HHS awarded more

to STLTs than the amounts specified by Congress.

       For example, although Congress appropriated $4.3 billion in coronavirus funding to the

HHS through the CARES Act, Congress only directed that only $1.5 billion of those funds

should go to STLTs, to remain available until September 30, 2024. HHS, in its discretion,

awarded over $2.1 billion to STLTs by September 30, 2024.

       Based on HHS’s tracking each of its appropriated funding streams and the expenditure of

those funds to each grant recipient, the following chart summarizes: 1) the total amount

appropriated to CDC through these appropriations bills; 2) the date by which it had to be

obligated by CDC; 3) the amount designated by the bill for STLTs; 4) the amount provided by

the CDC to STLTs. Source: Legier Decl.


  Appropriations         Total Amount           Amount
  Bill                   Appropriated to        Appropriated           Amount
                         CDC                    for CDC to             Provided by
                                                Provide to             CDC to STLTs
                                                STLTs
                             $2,200,000,000,
  CPRSA                       available until
                                                      $950,000,000       $1,113,063,558
  (134 Stat. at 147)          September 30,
                                        2022

                             $4,300,000,000,
  CARES                       available until
                                                    $1,500,000,000       $2,108,793,598
  (134 Stat. at 554)          September 30,
                                        2024



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  PPP                     $25,000,000,000 to
                                                        $10,250,000,000
  (134 Stat. at 623-         HHS, available                               $10,532,321,503
                                                           through HHS
  624)                       until expended

                                 $8,750,000,000,
  CRRSAA                          available until
                                                         $4,290,000,000       $5,322,551,251
  (134 Stat. at 1911)             September 30,
                                            2024

  ARPA                    $1,000,000,000 for
                             vaccine-related
  (135 Stat. at 38-                                                  $0   $18,964,597,077
                             uses; available
  39)                        until expended



        Pursuant to these Supplement COVID-19 appropriations, Harris County, Texas;

Columbus, Ohio; Nashville and Davidson County, Tennessee; and Kansas City, Missouri (the

“Local Government Plaintiffs”) were awarded the grants at issue in this case (as discussed

further below)—either directly by HHS, or indirectly, as a subgrantee (through an award by HHS

to the relevant state agency).

        On May 11, 2023, the HHS Secretary’s final extension of the “public health emergency”

declaration under 42 U.S.C. § 247d expired. On March 24, 2025, HHS terminated the remaining

grants that were funded by these COVID-19 Supplemental Appropriations. The Termination

Notices state:

      The purpose of this amendment is to terminate this award which is funded by COVID-
      19 supplemental appropriations. The termination of this award is for cause. HHS
      regulations permit termination if “the non-Federal entity fails to comply with the terms
      and conditions of the award”, or separately, “for cause.” The end of the pandemic
      provides cause to terminate COVID-related grants and cooperative agreements. These
      grants and cooperative agreements were issued for a limited purpose: to ameliorate the
      effects of the pandemic. Now that the pandemic is over, the grants and cooperative
      agreements are no longer necessary as their limited purpose has run out. Termination
      of this award is effective as of the date set out in your Notice of Award.

      No additional activities can be conducted and no additional costs may be incurred.
      Unobligated award balances will be de-obligated by CDC.


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See Decl. of Brandon Maddox (“Maddox Decl.”), Exs. A and B, ECF No. 14-3. The

terminations allowed for drawdown funds for work performed by the termination date, under a

30-day closeout period.

III.      The Grants Awarded to Local Government Plaintiffs

          The Complaint and Motion specifically discuss four direct grants (from HHS to the Local

Government Plaintiffs), but do not attach copies of any of the actual grants. The four direct

grants, and related documents for each, including the associated Notice of Funding Opportunity

(“NOFO”), are as follows:

       A. Award to Harris County Public Health. Award#: 6 NH75OT000026-01 (the
          “Embrace HOPE Grant”), pursuant to statutory authority under 42 U.S.C. §
          247(b). Awarded May 27, 2021, for $27,627,507, for the period June 1, 2021 to May
          31, 2023.

                 See Exhibit F, including (i) original award, (ii) NOFO #CDC-RFA-OT21-2103,
                 entitled National initiative to Address COVID-19 Health Disparities Among
                 Populations at High-Risk and Underserved, Including Racial and Ethnic Minority
                 Populations and Rural Communities; (iii) extension on February 22, 2024, and
                 (iv) Termination on March 24, 2024.

       B. Award to Harris County Public Health. Award#: NU58DP006986-01-00 August 23,
          2021 (Community Health Workers for Public Health Response and Resilient
          Communities Grant) (the “CHW Grant”). Pursuant to statutory authority in 42
          U.S.C. § 301(a), Award for $2,999,755, for the period Aug. 31, 2021 to Aug. 30, 2022.

                 See Exhibit G, including (i) original award, (ii) NOFO #DP21-2109 entitled
                 Community Health Workers for COVID Response and Resilient Communities
                 (CCR); (iii) continuation on July 13, 2022, (iv) continuation on June 1, 2023, (v)
                 extension on July 15, 2024, and (vi) Termination on March 24, 2024.

       C. Tennessee COVID-19 Health Disparities Initiative, Award # 6 NU58DP006999-03-
          10, August 23, 2021, Pursuant to statutory authority in 42 U.S.C. § 301(a). Award
          for $1,000,000, for the period Aug. 31, 2021 to Aug. 30, 2024.

                 See Exhibit H, including (i) original award, (ii) NOFO #DP21-2109 entitled
                 Community Health Workers for COVID Response and Resilient Communities
                 (CCR) ; (iii) continuation on July 13, 2022, (iv) continuation on June 1, 2023, (v)
                 extension on July 15, 2024, and (vi) Termination on March 24, 2024.



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   D. Kansas City, MO, Award # 6NH75OT000012-01-05,, May 27, 2021, Pursuant to
      statutory authority in 42 U.S.C. § 247B(K)(2); Award for $3,674,514, for the period
      June 1, 2021 to May 31, 2023.

               See Exhibit I, including (i) original award, (ii) NOFO #CDC-RFA-OT21-2103,
               entitled National initiative to Address COVID-19 Health Disparities Among
               Populations at High-Risk and Underserved, Including Racial and Ethnic Minority
               Populations and Rural Communities ; (iii) extension on February 28, 2023, (iii)
               extension on Feb. 21, 2024; and (iv) Termination on March 24, 2024.

       Each award—both originally, and when renewed / continued / extended—incorporates

“Terms and Conditions.” For example, the Notice of Award for the Harris County Embrace

HOPE Grant, awarded May 27, 2021 (at the top of the list above) provides:




See Ex. F. As incorporated into the Award Information above, the “General Terms and

Conditions for Non-Research awards,” provides the following, in relevant part, regarding

termination:

     Termination (45 C.F.R. Part 75.372) applies to this award and states, in part, the
     following:
     (a) This award may be terminated in whole or in part:
     (1) By the HHS awarding agency or pass-through entity, if a non-Federal entity fails
     to comply with the terms and conditions of a Federal award;
     (2) By the HHS awarding agency or pass-through entity for cause;
     ****
See Ex. J (p. 8) Further, as also incorporated in the Award Information above, the underlying

NOFO (#CDC-RFA-OT21-2103) states the following, in relevant part, regarding termination:




                                               7
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See Ex. A at 42 of 50, NOFO (#CDC-RFA-OT21-2103)

       Similarly, the No-Cost Extension for this same grant, dated February 22, 2024, provides:




The updated “General Terms and Conditions” (as referenced in the above “Additional Terms and

Conditions of Award”) includes the same information on termination, as referenced with the

original “General Terms and Conditions.” (supra). See Ex. K, p. 9.

       The above information is basically the same across the remaining three direct grants,

listed above. See Exs. G-I.

       Finally, the four Local Government Plaintiffs also allege termination of specific

subgrants, as listed in the footnote below. 2 But again, Plaintiffs do not provide the papers for


2
 Harris County, TX
 Award#: HHS001019500034 (Immunization COVID-19 Grant Program); and
 Award#: HHS000812700023) (the Infectious Disease Control Unit Grant);
See Compl. ¶¶ 37-58, ECF No. 1; see also Maddox Decl. and Exs. A, B, C (ECF No. 14-3
Columbus, Ohio
 “Enhanced Operations grant,” see Compl. ¶¶ 59-61; see also Decl. of Edward Johnson and
   Ex. A (ECF No. 14-6);
 Enhanced Operations federal funding in the form of an Ohio Health Improvement Zones
   grant (Project #02520021OI0123), see Compl. ¶ 62; Decl. of Danielle Tong (“Tong Decl.”),
   (ECF No. 14-7).
Kansas City, Missouri
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these grants. Defendants have been unable to locate the documents, but presently have no reason

to believe that the relevant provisions—including termination—are different from those above.

IV.    Plaintiffs’ Claims

       Plaintiffs filed their complaint—asserting APA, constitutional and ultra vires claims—

and then moved for a preliminary injunction. The remedy they seek is enforcement of the

government’s obligations under the terminated grant agreements—including the obligation to

pay money. Specifically, the Complaint asks the Court to: “(C) Enjoin Defendants to reinstate

the eliminated grant programs and to spend the funding appropriated by the following laws

for the purposes specified by Congress: [(1) CARES, (2) CRRSA, (3) ARPA, (4) CPRSA, and

(5) PPP].” Compl. (Prayer for Relief) at 53 (emphasis added). The Complaint also seeks

specific performance of the grants: “(D) Enjoin Defendants to reinstate Plaintiffs’ grants for

the awarded project periods and to continue to administer the grants to the same extent and

in the same manner as prior to the unlawful terminations, in accordance with the governing

statutes and regulations;” Id. Among other things, the Complaint also asks the Court to: (A)

Declare unlawful and vacate Defendants’ decision to terminate the grant programs, and (B)

Declare unlawful and vacate Defendants’ terminations of Plaintiffs’ grants.” See Id.




  Epidemiology & Laboratory Capacity Enhancing Detection Expansion (“ELC-ED”) Grant
  The ELC Expansion for Community Health Workers (“CHW”) Grant
  COVID-19 Adult Vaccination Supplemental (“AVS”) Grant.
See Compl. ¶¶ 67-71; Decl. of Marvia Jones (“Jones Decl.”) and Ex. D (ECF No. 14-8).
Nashville, Tenn
   ELC-EDx, or Epidemiology and Laboratory Capacity for Prevention and Control of
   Emerging Infectious Diseases (ELC) - Building and Strengthening Epidemiology, Laboratory
   and Health Information Systems Capacity; and
 CDC-RFA-IP19-1901 Immunization and Vaccines for Children
See Compl. ¶¶ 63-66; see also Decl. of Bradley Thompson (“Thompson Decl.”) and Ex. B (ECF
No. 14-9).
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       The Preliminary Injunction also seeks specific performance: “Order Defendants to

“resume the implementation of the grants of Plaintiff Local Governments and of state and

local employers of AFSCME members that were affected” by the grant termination decisions.”

See Pl. Br. Proposed Order at 14-17, ECF No. 14-17. The Preliminary Injunction Motoin also

seeks to: “Enjoin Defendants from implementing, enforcing, or effectuating” the grant

terminations; and “Enjoin Defendants from reinstating” the grant terminations for the same or

similar reasons. (Id.) (also proposing to require notice and status report requirements).

       As noted above, with respect to Plaintiff Local Governments, the Complaint and Motion

center around five appropriations statutes (CARES, CRRSA, ARPA, CPRSA, and PPP) and the

four direct awards listed above, as well as nine indirect awards. See Exs. F-I; n.2, supra. With

respect to AFSCME, the Complaint and Motion are not tethered to any specific COVID

appropriations statutes, to any specific state or local government, or to any specific grants.


                                       LEGAL STANDARD

       A preliminary injunction is an “extraordinary” remedy that “should be granted only when

the party seeking the relief, by a clear showing, carries the burden of persuasion.” Cobell v.

Norton, 391 F.3d 251, 258 (D.C. Cir. 2004). To prevail, a moving party must demonstrate that

(1) they are “likely to succeed on the merits”; (2) they are “likely to suffer irreparable harm in

the absence of preliminary relief”; (3) “the balance of equities tips in [their] favor”; and (4) “an

injunction is in the public interest.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008).


                                           ARGUMENT

I.     Plaintiffs Are Not Likely of Success on the Merits




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       A. This Court lacks Subject Matter Jurisdiction because the Court of Federal Claims
          has Exclusive Jurisdiction over Contract Claims

       “To bring a claim against the United States, a plaintiff must identify an unequivocal

waiver of sovereign immunity.” Franklin-Mason v. Mabus, 742 F.3d 1051, 1054 (D.C. Cir.

2014). As explained below, Plaintiffs are unable to make this requisite “clear showing” to

establish this Court’s jurisdiction, in light of Department of Education, and therefore, Plaintiffs

are not likely to succeed on the merits.

       The only waiver of sovereign immunity Plaintiffs have identified for their claims is the

APA. Regardless of how a claim is styled, a district court lacks jurisdiction over an APA claim

if it “is in ‘its essence’ contractual.” Perry Capital, LLC v. Mnuchin, 864 F.3d 591, 619 (D.C.

Cir. 2017) (quoting Megapulse, Inc. v. Lewis, 672 F.2d 959, 967 (D.C. Cir. 1982)). This is

because of the interplay between two statutes. Section 702 of the APA “provide[s] a limited

waiver of sovereign immunity for claims against the United States ‘seeking relief other than

money damages’ for persons ‘adversely affected or aggrieved by agency action.’” Crowley Gov’t

Servs., Inc. v. Gen. Servs. Admin., 38 F.4th 1099, 1105-06 (D.C. Cir. 2022) (quoting 5 U.S.C. §

702). The Tucker Act waives sovereign immunity by providing that “[t]he United States Court

of Federal Claims shall have jurisdiction to render judgment upon any claim against the United

States founded . . . upon any express or implied contract with the United States.” See 28 U.S.C.

§ 1491(a)(1). Thus, the D.C. Circuit has “interpreted the Tucker Act . . . to ‘impliedly forbid[]’

contract claims against the Government from being brought in district court under . . . the APA.”

Perry Capital, 864 F.3d at 618-19 (citation omitted)). The Tucker Act “create[s] a presumption

of exclusive jurisdiction in the Court of Federal Claims[.]” Franklin-Mason 742 F.3d at 1055.

See Shaffer v. Veneman, 325 F.3d 370, 373 (D.C. Cir. 2003) (“[T]his Court and others have

interpreted the Tucker Act as providing the exclusive remedy for contract claims against the

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government, at least vis a vis the APA.” (quoting Transohio Sav. Bank v. Dir., Off. of Thrift

Supervision, 967 F.2d 598, 609 (D.C. Cir. 1992)). 3

               (a) Department of Education requires denial of Plaintiffs’ Motion for lack of
                   jurisdiction

       In Department of Education, the Supreme Court recently held, in indistinguishable

circumstances, that a district court likely lacks subject matter jurisdiction to “enjoin[] the

Government from terminating various education-related grants,” because the Tucker Act likely

confers exclusive jurisdiction on the Court of Federal Claims, based on the contractual nature of

the educational grants. See 145 S. Ct. at 968. In other words, the Supreme Court held that the

APA’s waiver of sovereign immunity likely did not extend to actions that challenge an agency’s

termination of grants.

       Specifically, eight plaintiff states had sued the Department of Education, and the district

court entered a TRO and ordered defendants to “immediately restore Plaintiff States to the pre-

existing status quo prior to the termination under all previously awarded [ ] grants for recipients

in Plaintiff States.” See California v. U.S. Dep’t of Educ., Civ. A. No. 25-10548-MJJ, 2025 WL

760825, at *5 (D. Mass. Mar. 10, 2025), granting stay, 145 S. Ct. 966 (2025). Ultimately, on

appeal of this order, the Supreme Court explained that the government is “likely to succeed in




3
 This jurisdictional barrier ensures that contract claims against the federal government are
channeled into a court “that possesses expertise in questions of federal contracting law,”
Alphapointe v. Dep’t of Veterans Affairs, 475 F. Supp. 3d 1, 11 (D.D.C. 2020), and it respects
Congress’s deliberate choice to limit the remedies available for such claims, see Megapulse, 672
F.2d at 971 (recognizing that a plaintiff “cannot maintain a contract action in either the district
court or the Court of Claims seeking specific performance of a contract”). See also Ingersoll-
Rand Co. v. United States, 780 F.2d 74, 78 (D.C. Cir. 1985) (“[W]e must implement the
congressional intent to provide a single, uniquely qualified forum for the resolution of
contractual disputes.”).
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showing the District Court lacked jurisdiction to order the payment of money under the APA.”

145 S. Ct. at 968. The Supreme Court reasoned:

        [A]s we have recognized, the APA’s limited waiver of immunity does not extend to
        orders “to enforce a contractual obligation to pay money” along the lines of what
        the District Court ordered here. Great-West Life & Annuity Ins. Co. v. Knudson, 534
        U. S. 204, 212 (2002). Instead, the Tucker Act grants the Court of Federal Claims
        jurisdiction over suits based on “any express or implied contract with the United
        States.” 28 U.S.C. § 1491(a)(1).

Id. (emphasis added).

        The circumstances here are indistinguishable from Department of Education. Like the

state plaintiffs suing the Department of Education, Plaintiffs here sue HHS seeking relief from

the termination of government grants under which they received federal funding, and they

challenge the grant-termination decision under the APA. The COVID-19 appropriations statutes

at issue here are lump-sum, like the appropriations statutes at issue in Department of

Education—neither specify line-item amounts for any particular recipient. See Exs. A-E. And

Plaintiffs here, like the plaintiff states in Department of Education, do not point to any specific

statutory violation, or claim that any statute or regulation entitles them, in particular, to these

grants; instead, the basis for their claim is in essence contractual.

        The relief sought here and in Department of Education is also the same. In Department

of Education, the Supreme Court observed that the TRO “[1] enjoin[ed] the Government from

terminating … [the] grants,” “[2] requires the Government to pay out past-due grant obligations

and [3] to continue paying obligations as they accrue.” See 145 S. Ct. at 968. Plaintiffs here

seek that same relief—specifically: (1) to “vacate Defendants’ termination of Plaintiffs’ grants”

(2) to order “Defendants to reinstate Plaintiffs’ grants for the awarded project periods and to

continue to administer the grants to same extent and in the same manner as prior to the []

terminations …. ,” and (3) to order Defendants “to reinstate the eliminated granted programs and

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to spend the funding appropriated….” See Compl., Prayer for Relief (B), (C), (D), respectively.

See also, Pl. Br. Proposed Order (requesting that the Court enjoin Defendants from

“implementing, enforcing, or effectuating” the grant terminations and from “reinstating” the

grant terminations “for the same or similar reasons,” and that the Court order Defendants to

“resume the implementation of the grants . . . .”). The same result therefore should follow: like

the district court in Department of Education, this Court too “lack[s] jurisdiction . . . under the

APA” to compel Defendants “to pay money” pursuant to grants. Dep’t of Educ., 145 S. Ct. at

968.

        Department of Education is binding precedent on the issue of whether there is a

likelihood of success on the merits as to this Court’s jurisdiction to hear this case. Five justices

of the Supreme Court considered the issue, reached a conclusion, and provided their reasoning. It

is a ruling of our highest court, and thus binding on all lower courts. And when Supreme Court

precedent “has direct application in a case,” a district court “should follow the case which

directly controls, leaving to [the Supreme Court] the prerogative of overruling its own decision.”

Mallory v Norfolk S. Ry. Co., 600 U.S. 122, 124 (2023) (cleaned up). “This is true even if the

lower court thinks the precedent is in tension with some other line of decisions.” Id. (citation

omitted). Indeed, the Supreme Court has explained the precedential effect of its per curiam

decisions and found lower court decisions erroneous for failing to follow that precedent. See,

e.g., Tandom v. Newsom, 593 U.S. 61, 62 (2021) (per curiam) (citing Roman Catholic Diocese of

Brooklyn v. Cuomo, 592 U.S. 14 (2020) (per curiam) (slip opinion)); see also Gateway City

Church v. Newsom, 141 S. Ct. 1460 (2021) (mem.) (holding that the Ninth Circuit’s “failure to

grant relief was erroneous,” because the right to injunctive relief was “clearly dictated” by the




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Supreme Court’s prior summary order on an application for injunctive relief in South Bay United

Pentecostal Church v. Newsom, 141 S. Ct. 716 (2021) (mem.)).

       Accordingly, this Court should follow Department of Education, and deny Plaintiffs’

motion for preliminary injunction for lack of jurisdiction—as other courts have done. See e.g.,

Solutions in Hometown Connections v. Noem, No. 8:25-cv-00885-LKG, 2025 WL 1103253, at

*8-10 (D. Md. Apr. 14, 2025) (denying the plaintiffs’ TRO motion challenging the termination

of certain U.S. Citizenship and Immigration Services grants in light of the Department of

Education order and concluding that the plaintiffs’ claims were “in essence contract claims

against the United States for which the . . . Court of Federal Claims has exclusive jurisdiction”);

Electronic Order, Mass. Fair Hous. Ctr. v. U.S. Dep’t of Hous. & Urb. Dev., No. 3:25-cv-30041

(D. Mass Apr. 14, 2025), ECF No. 42 (dissolving a TRO after acknowledging that the

Department of Education order is an “unmistakable directive that, for jurisdictional purposes, the

proper forum for this case is the Court of Federal Claims”); see also Order, Am. Ass’n of Colls.

For Tchr. Educ. v. McMahon, No. 25-1281 (4th Cir. Apr. 10, 2025) (staying a district court’s

preliminary injunction in a case involving education-related grants in light of the Supreme

Court’s Department of Education order).

               (b) The D.C. Circuit’s Megapulse-test also confirms that Plaintiffs’ claims are
                   disguised contract claims over which this Court lacks jurisdiction.

       D.C. Circuit precedent also compels the conclusion that Plaintiffs’ claims amount to

contractual claims for monetary relief against the federal government over which this Court lacks

jurisdiction. The determination of whether a claim “is ‘at its essence’ contractual”—and

therefore falls outside of the APA’s waiver of sovereign immunity—“depends both on [1] the

source of the rights upon which the plaintiff bases its claims, and [2] upon the type of relief

sought (or appropriate).” Crowley, 38 F.4th at 1106 (quoting Megapulse, 672 F.2d at 968)

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(hereinafter “Megapulse-test”). “The [Megapulse] test seeks to ascertain whether claims brought

in federal court are, in fact, ‘disguised’ contract claims.” Twin Metals Minn. LLC v. United

States, Case No. 22-cv-2506 (CRC), 2023 WL 5748624, at *5 (D.D.C. Sept. 6, 2023) (Cooper,

J.) (quoting Megapulse, 672 F.2d at 969), appeal filed, No. 23-5254 (D.C. Cir. Nov. 9, 2023).

       “In assessing the first prong of the Megapulse test, the D.C. Circuit considers whether the

plaintiff’s ‘rights and the government’s purported authority arise from statute, whether the

plaintiff’s rights exist prior to and apart from rights created under the contract, and whether the

plaintiff seeks to enforce any duty imposed upon the government by the relevant contracts to

which the government is a party.’” Id. (quoting Crowley, 38 F.4th at 1107). And with respect to

the Megapulse-test’s second prong on “type of relief sought,” the court “look[s] to the

complaint’s substance, not merely its form.” Perry Capital, 864 F.3d at 619; Kidwell v. Dep’t of

Army, Bd. for Corr. of Mil. Recs., 56 F.3d 279, 284 (D.C. Cir. 1985). This Court has explained:

      [A] claim is founded on a contract if the claim seeks the ‘explicitly contractual
      remedy’ of specific performance or the ‘prototypical contract remedy’ of damages.
      Perry, 864 F.3d at 619 (citation omitted). The classification of a claim depends not
      only on how it is pled, but on what relief would be “appropriate.” Megapulse, 672
      F.2d at 968. Under this prong, claims do not fall within the Tucker Act if the
      complaint requests “non-monetary relief that has ‘considerable value’ independent of
      any future potential for monetary relief.’” Kidwell[, 56 F.3d at 284.]

Twin Metals, 2023 WL 5748624, at *5.

       Applying the Megapulse test in Twin Metals, this Court concluded that it lacked

jurisdiction over plaintiffs’ “objection to [a] lease cancellation”—“a disguised contract claim”—

because under the first prong, “the only sources of Twin Metals’ asserted rights are [in] the

underlying leases,” and under the second prong, “[t]he relief Twin Metals seeks is also properly

understood as contractual relief,” notwithstanding that “Twin Metals does not request monetary

damages.” See id. at *4, *7. The Court looked to “[t]he real harms alleged in the complaint”:



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that (i) Twin Metals spent money on a mining project in “reasonable reliance” of a renewal, and

(ii) Twin Metals cannot recoup its financial investment. See id. at *7. The Court concluded,

“[t]he Tucker Act, not the APA, allows plaintiffs to recover for these kinds of harms, in the form

of expectancy, reliance, and other monetary damages.” See id.

       Here, under the first prong, the only statutes on which Plaintiffs rely are lump-sum

appropriations bills, which do not specify amounts dedicated to any of the plaintiffs or other

particular recipients—but rather, authorize HHS, through “grants” or “cooperative agreements”

to provide money to STLTs. See Exs. A-E. Plaintiffs do not identify any specific violation of

these appropriations statutes. Instead, the source of the rights upon which Plaintiffs seek

continued grant funding are in the terms of the grants (i.e., contracts) that HHS awarded to them.

       As for the second prong, Plaintiffs’ complaint seeks specific performance in the form of

an order to pay money to the Award recipients. See, e.g., Compl., Prayer for Relief (C) (ordering

HHS/CDC “to reinstate the eliminated grant programs and to spend the funding appropriated . .

.”); Id., Prayer for Relief (D) (ordering HHS/CDC “to reinstate Plaintiffs’ grants for the awarded

project periods and to continue to administer the grants to the same extent and in the same

manner as prior to the unlawful terminations . . .”). Similarly, Plaintiffs’ Motion seeks specific

performance: “Order[]” Defendants to “resume the implementation of the grants of Plaintiff

Local Governments and of state and local employers of AFSCME members that were affected”

by the grant terminations. See Pl. Br. Proposed Order at 2. And Plaintiffs likewise allege

“harms, in the form of expectancy, reliance, and other monetary damages.” See Twin Metals,

2023 WL 5748624, at *7. See Pl.’s Mot. for a Prelim. Inj. at 28, ECF No. 14 (“Pl. Br.”) (citing

Maddox Decl.); Maddox Decl. ¶14 (“[Harris County Public Health (HCPH)] relied and acted

upon its expectation and understanding that HHS/CDC would fulfill its commitment to provide



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the grant funding it awarded to Harris County. HCPH’s reliance on this funding included hiring

employees . . .” (emphasis added)); Tong Decl. ¶ 11 (“CelebrateOne relied and acted upon its

expectation and understanding that these funds would be available throughout the agreed

performance period.” (emphasis added)); see also, Pl. Br. at 18 (“Plaintiff Local Governments

have invested significant time and resources into building these projects, with the idea that the

last few steps would be completed with the remaining federal funds—funds to which they no

longer have access.” (citing Jones Decl. ¶¶ 8–10)). Plaintiffs also do not seek “any non-

monetary relief that has ‘considerable value’ independent of any future potential for monetary

relief.” Kidwell, 56 F.3d at 284 (citation omitted).

      As another judge of this Court put it:

      Stripped of its equitable flair, the requested relief seeks one thing: The Conference
      wants the Court to order the Government to stop withholding the money due under
      the Cooperative Agreements. In even plainer English: The Conference wants the
      Government to keep paying up. Thus the Conference “seeks the classic contractual
      remedy of specific performance.” . . . But this Court cannot order the Government to
      pay money due on a contract. Id. Such a request for an order that the government
      “must perform” on its contract is one that “must be resolved by the Claims Court.”

U.S. Conf. of Cath. Bishops v. U.S. Dep’t of State, ---F. Supp. 3d---, 2025 WL 763738, at *5-6

(D.D.C. Mar. 11, 2025) (citations omitted), dismissed, 2025 WL 1350103 (D.C. Cir. May 2,

2025).

         Plaintiffs argue that “[t]his Court may hear [their] constitutional [Spending Clause and

separation of powers] and ultra vires claims even if the APA’s waiver of immunity were

unavailable.” Pl. Br. at 30. 4 This misses the point in Department of Education.



4
  Plaintiffs’ authorities are simply inapplicable here. See Pl. Br. at 30 (alleging federal officers
violated plaintiff’s second amendment rights in connection with his attempt to purchase a gun
(citing Sedita v. United States, ---F. Supp. 3d---, 2025 WL 387962 (D.D.C. Feb. 4, 2025)));
Pollack v. Hogan, 703 F.3d 117 (D.C. Cir. 2012) (alleging federal officers rejected her job
application in violation of her constitutional right to travel).
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       The Court focused on the remedy sought by plaintiffs and the basis of plaintiffs’ claims.

A suit belongs in the Court of Federal Claims when the source of plaintiffs’ asserted right is a

contract and what plaintiffs seek amounts to contractual remedies, regardless of whether

Plaintiffs frame their claims as contract claims, APA claims, constitutional claims, or something

else. See Department of Education, 145 S. Ct. at 968 (jurisdiction lies in the Claims Court when

the suit is “based on ‘any express or implied contract with the United States’” and the remedy

seeks “to enforce a contractual obligation to pay money” (citations omitted)). The source of

Plaintiffs’ asserted rights are their grant agreements with the federal government—they would

have no claim at all if not for those grant agreements. Indeed, in their Proposed Order, Plaintiffs

explicitly identify the remedy they seek as enforcement of the government’s obligations under

the grants—including the obligation to pay money. See Pl. Br. Proposed Order at 2 (seeking an

Order that “Defendants shall resume the implementation of the grants . . .”); Compl., Prayer for

Relief (C) (seeking an order that “Defendants to reinstate the eliminated grant programs and to

spend the funding appropriated”). In other words, the thrust of all these allegations is that

Plaintiffs “seek an injunction requiring the government to pay monies” under terminated grants.

Spectrum Leasing Corp. v. United States, 764 F.2d 891, 894 (D.C. Cir. 1985). “The right to these

payments is created in the first instance by the contract” or grant agreement, not by any statutory

or constitutional provision, and any such provision “confers no such right in the absence of the

contract [or grant agreement] itself.” Id.

       Here, the heart of Plaintiffs’ challenge is to get “the Government to keep paying up” on

the terminated grants. They do not allege the statutes themselves are unconstitutional or that the

government has violated Plaintiffs’ individual constitutional rights. Plaintiffs therefore cannot

avoid the Tucker Act by framing their challenge to the grant terminations as constitutional



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claims. Indeed, the D.C. Circuit “prohibits the creative drafting of complaints . . . to avoid the

jurisdictional consequences of the Tucker Act.” Crowley, 38 F.4th at 1107 (cleaned up);

Megapulse, Inc. v. Lewis, 672 F.2d 959, 967 (D.C. Cir. 1982) (a plaintiff “should not be allowed

to avoid the jurisdictional (and hence remedial) restrictions of the Tucker Act by casting its

pleadings in terms that would enable a district court to exercise jurisdiction under a separate

statute and enlarge waivers of sovereign immunity, as under the APA.”).

               (c) Plaintiffs’ counter-arguments on jurisdiction are unavailing.

       First, Plaintiffs’ sole response to Department of Education is that “the plaintiffs [there]

did not allege that the termination of their grants violated any statute” (but rather the terms and

conditions of the grants). See Pl. Br. at 32. But the same is true here. Nowhere do Plaintiffs

point to a specific statute and identify a specific violation by Defendants. 5

       Second, Plaintiffs argue that they satisfy the Megapulse-test because, under the first

prong, the “source of [their] rights” is not “the individual grants that were awarded.” Id. at 31

(citation omitted). Rather, they argue that they challenge the “categorical decision to terminate

all grants that had been funded under congressional appropriations for pandemic preparedness.”

Id. (emphasis added). But Plaintiffs have no standing to challenge any such “categorical”

decision, because only the actual termination of Plaintiffs’ individual grants injured them. Put




5
  Plaintiffs’ cited cases concerning Department of Education are presently on appeal. See
Widakuswara v. Lake, ---F. Supp. 3d---, 2025 WL 1166400 (D.D.C. Apr. 22, 2025) (cited at Pl.
Br. at 32), appeal filed, No. 25-5144 (D.C. Cir. Apr. 24, 2025). We note that the appropriations
statutes in Widakuswara contained line-item appropriations. Because Department of Education
is controlling precedent, Defendants do not believe it is necessary to await the en banc decision
in Widakuswara before denying Plaintiffs’ Motion. See also, Climate United Fund v. Citibank,
N.A., ---F. Supp. 3d---,2025 WL 1131412 (D.D.C. Apr. 16, 2025) (cited at Pl. Br. at 33), appeal
filed, No. 25-5123 (D.C. Cir. Apr. 17, 2025).
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differently, reversing any such “categorical decision” would not redress Plaintiffs’ injury because

the individual terminations would remain.

          Plaintiffs also argue that their “claims arise from Defendants’ violations of the

Constitution, Congress’s statutory appropriations, and the procedural protections of the APA.”

Id. But the only legal “source . . . upon which” Plaintiffs could even plausibly “base[]” that

asserted right, see Crowley, 38 F.4th at 1108, are the grants themselves. Plaintiffs have no

colorable claim to funding whatsoever absent those contracts. See Navab-Safavi v. Broad. Bd. of

Governors, 650 F. Supp. 2d 40, 71 (D.D.C. 2009) (“[T]he APA itself does not ‘confer a

substantive right to be free from arbitrary agency action,’ . . . nor does it create any other

substantive right that might be violated.” (quoting Furlong v. Shalala, 156 F.3d 384, 394 (2d Cir.

1998))), aff’d sub nom. Navab-Safavi v. Glassman, 637 F.3d 311 (D.C. Cir. 2011). Thus, there is

no merit to Plaintiffs’ argument that their “challenge does not turn on individualized assessments

of particular grant terms and conditions, or any other agreements.” Pl. Br. at 31. The Court

could not resolve Plaintiffs’ claims without looking at the terms and conditions of the terminated

grants.

          Plaintiffs’ argument (if any) under Megapulse’s second prong, “the type of relief sought,”

is unclear. See id. at 31-32 (quoting Megapulse, 672 F.2d at 968). Elsewhere in their brief,

Plaintiffs assert they bring this “action in equity to compel Defendants to comply with a statutory

mandate.” Id. at 30. This makes no sense because they cite to no specific statutory violation.

Plaintiffs also claim that they “do not seek to enforce any provision of individual grant

agreements for past due sums,” id., but their papers belie this assertion. See Compl., Prayer for

Relief (D). In any event, as this Court observed, “[t]he ‘plain language of a complaint . . . does

not necessarily settle the question of Tucker Act jurisdiction . . . because plaintiffs can bypass



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Tucker Act jurisdiction by converting complaints which ‘at their essence’ seek money damages

from the government into complaints requesting injunctive relief or declaratory actions.” Twin

Metals, 2023 WL 5748624, at *7 (quoting Kidwell, 56 F.3d at 284). At base, Plaintiffs fail to

show that their claims are not contract claims “disguised” as “APA claim[s]” under Megapulse.

       Third, plaintiffs argue that “[i]n any event, the grants ... are not contracts”—because they

lack the element of consideration. Pl. Br. at 33. But the Federal Circuit “treat[s] federal grant

agreements as contracts when the standard conditions for a contract are satisfied, including that

the federal entity agrees to be bound.” See Columbus Reg’l Hosp. v. United States, 990 F.3d

1330, 1338 (Fed. Cir. 2021). To determine whether the standard conditions for a contract are

met, the Federal Circuit “appl[ies] the traditional four-part test for the existence of a government

contract: (1) mutuality of intent to contract; (2) offer and acceptance; (3) consideration; and (4) a

government representative having actual authority to bind the United States.” Id. at 1339. The

presence of these elements is clear, where, as reflected in the Notices of Award, there is an

exchange of funding by CDC, in return for agreements by the recipient to comply with and

support various federal government requirements.

       For example, the Notice of Award at Exhibit F (Award#: 6 NH75OT000026-01 to Harris

County Public Health, described supra), obligates the recipient to support the federal

government’s COVID-19 strategy:

      [R]ecipient agrees, as applicable to the award, to: ….assist the United States
      Government in the implementation and enforcement of federal orders related to
      quarantine and isolation… Recipient … will comply … with respect to the reporting
      to the HHS Secretary of results of tests intended to detect SRS-CoV-2 or to diagnose
      a possible case of COVID-19…..[T]he recipient is expected to provide to CDC copes
      of and/or access to COVID-19 data collected with these funds….This award is
      contingent upon agreement by the recipient to comply with existing and future
      guidance from the HHS Secretary regarding control of the spread of COVID-19.




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       Last, and relatedly, Plaintiffs misrely on this Court’s decision in American Near East

Refugee Aid v. United States Agency for International Development, 703 F. Supp. 3d 126

(D.D.C. 2023) (“Anera”). That case involved an agreement between a humanitarian organization

(Anera) and USAID, which “funded Anera to build water and sanitation infrastructure in the

West Bank and Gaza.” Id. at 129. This Court concluded in part that where “[t]he agreement’s

stated purpose was to ‘increase Palestinian access to water, sanitation and other small and

medium scale community infrastructure,’” id. at 133 (citation omitted), “USAID and Anera’s

Cooperative Agreement did not confer direct, tangible benefits on the agency [(USAID)],” so it

therefore does not constitute “consideration” for Tucker Act jurisdiction purposes. Id. In

contrast, as shown by Plaintiffs’ own papers, the grants at issue here provide tangible and direct

benefits to the federal government. See Maddox Decl. ¶ 19 (“Limiting Harris County’s ability to

prevent, detect, and respond to outbreaks threatens public health in neighboring counties,

throughout the state of Texas, and nationwide.”); see also Pl. Br. at 18; Maddox Decl. ¶¶ 9, 19

(re Measles outbreak). Moreover, Plaintiffs overlook this Court’s reasoning that nothing in the

Anera agreement “granted USAID or other U.S. agencies access to or use of the new

infrastructure,” although funded by the US agency. Here, by contrast, as explained above, the

grants contractually obligate the award recipient to support the federal government’s COVID-19

efforts and policies.

                   (d) Plaintiffs’ status as subrecipient (for some grants) does not alter the
                       analysis

       Plaintiffs cannot escape the conclusion that their APA claims are “at [their] essence”

contractual, see Crowley, 38 F.4th at 1106, by pointing to their status as subrecipients (i.e., sub-

grantees) for some challenged grant terminations. Where a plaintiff has been awarded a

subaward, although the plaintiff is not a party to the grant between the federal government and

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the recipient (i.e., the state, as pass-through), the plaintiff’s asserted right to funding is

undoubtedly grounded in a contract—specifically, its subaward with the state, which is derived

in turn from the primary award. Consequently, Plaintiffs’ claims can still be fairly characterized

as the sort of claims “sound[ing] in contract” over which the Court lacks jurisdiction under the

APA. Perry Capital, 864 F.3d at 619.

        Additionally, a conclusion that claims sounding in contract would necessarily fall within

the APA’s waiver of sovereign immunity so long as they are brought by a subrecipient who is

not in direct privity with the government would have perverse consequences. The Tucker Act’s

“primary purpose” is “to ensure that a central judicial body adjudicates most claims against the

United States Treasury,” Kidwell, 56 F.3d at 284, and to that end, the statute “confer[s] exclusive

jurisdiction over breach of contract claims against the United States seeking more than $10,000

in damages on the Court of Federal Claims,” Crowley, 38 F.4th at 1106 (citation omitted); see

also Spectrum, 764 F.2d at 895 (observing that “Congress intended the jurisdiction and remedies

of the Tucker Act to be exclusive in cases based on government contracts”). The D.C. Circuit has

consistently respected this jurisdictional boundary by reading the Tucker Act to “‘impliedly

forbid[]’ contract claims against the Government from being brought in district court” under the

APA’s waiver of sovereign immunity. Perry Capital, 864 F.3d at 618-19 (quoting 5 U.S.C. §

702). Yet concluding here that Plaintiffs’ APA claims fall within that waiver merely because

Plaintiffs are not in direct privity with the federal government for some of the challenged grants

would create an easily exploitable jurisdictional loophole, whereby claims for monetary relief

that are grounded in a contract between the government and a prime contractor—claims that

ordinarily should be brought in and resolved by the Court of Federal Claims, see Crowley, 38

F.4th at 1106; Spectrum, 764 F.2d at 895—could instead be reviewed by district courts under the



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APA so long as a subrecipient who benefits indirectly from the prime award is the one bringing

suit.

         The Court’s endorsement of such a novel jurisdictional strategy here would threaten to

undermine the jurisdictional scheme that Congress devised under the Tucker Act. Cf. Wright v.

Foreign Serv. Grievance Bd., 503 F. Supp. 2d 163, 180-81 (D.D.C. 2007) (“To allow a plaintiff

to utilize the [APA’s] waiver of sovereign immunity . . . to obtain a district-court judgment that a

government contract is void would ‘create such inroads into the restrictions of the Tucker Act

that it would ultimately result in the demise of the Court of Claims.’” (quoting Megapulse, 672

F.2d at 967)), aff’d, 2008 WL 4068606 (D.C. Cir. July 30, 2008). Such an outcome would also

upend the settled expectations and agreed-upon obligations reached by the federal government in

its grants by subjecting any consequential exercise of a contractual right to APA lawsuits brought

by subrecipients in district court, whereas an identical contract-based claim brought by a prime

recipient could only be brought in the Court of Federal Claims. The APA’s waiver of sovereign

immunity should not be read to permit such an absurd result. See Seed v. EPA, 100 F.4th 257,

265 (D.C. Cir. 2024) (“Courts, in turn, must strictly construe a waiver of sovereign immunity in

terms of its scope, in favor of the sovereign.” (cleaned up)).

         B. Even if the Court has jurisdiction, Plaintiffs’ attempt to challenge an alleged
            “Mass Termination Decision” is unreviewable.

         Plaintiffs’ three APA claims, Compl. Count IV, V, and VI, challenge what Plaintiffs call

“Defendants’ Mass Termination Decision.” Plaintiffs define this purported decision as

“Defendants’ decision to terminate the[] ‘COVID-related’ CDC grant programs en masse.”

Compl. ¶ 5. Although Plaintiffs refer to a “Mass Termination Decision,” the papers attached to

their preliminary injunction motion include notices of termination for each direct grant at issue

that explain that the grant is being terminated and the agency’ reasoning. Plaintiffs’ apparent


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attempt to challenge an alleged “Mass Termination Decision,” as opposed to the agency’s

decision to terminate each grant as evidenced by the individual notices of termination, fails for

several reasons.

       First, Plaintiffs lack standing to challenge any alleged “Mass Termination Decision.”

Any injury to Harris County (for example) stems from the notice of termination for each of its

particular grants, not any alleged “Mass Termination Decision”. For similar reasons, vacatur of

any alleged “Mass Termination Decision” would not provide redress to Plaintiffs. Rather,

redress would require reinstatement of each individual terminated grant.

       Second, any alleged “Mass Termination Decision” would not qualify as final agency

action, Pl. Br. at 22, because no legal consequences would flow from it. Finality is a

prerequisite to judicial review of agency action. See 5 U.S.C. § 704. To be final, agency action

must satisfy two independent requirements. See Bennett v. Spear, 520 U.S. 154, 177 (1997).

First, the action must “mark the consummation of the agency’s decisionmaking process” and not

be “of a merely tentative or interlocutory nature.” Id. at 178 (citation omitted). Second, the action

must be one “by which rights or obligations have been determined, or from which legal

consequences will flow.” Id. (quoting Port of Bos. Marine Terminal Ass’n v. Rederiaktiebolaget

Transatlantic, 400 U.S. 62, 71 (1970)). Here, any alleged “Mass Termination Decision” would

not qualify as final agency action, at minimum, because it would not determine Plaintiffs’ rights

and obligations. Rather, “legal consequences . . . flow” only from the termination of each grant

as manifested in the termination notice for each individual grant. Bennett, 520 U.S. at 178

(citation omitted).

       Finally, any alleged “Mass Termination Decision” would be an unreviewable

“programmatic” decision under Lujan. “[U]nder the terms of the APA, [Plaintiffs] must direct



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[their] attack against some particular ‘agency action’ that causes [them] harm.” Lujan v. Nat’l

Wildlife Fed’n, 497 U.S. 871, 891 (1990). And that agency action must be “circumscribed” and

“discrete[.]” Norton v. S. Utah Wilderness All., 542 U.S. 55, 62 (2004). In Lujan, the Supreme

Court dispelled any notion that a programmatic challenge can proceed under the APA:

      [I]t is at least entirely certain that the flaws in the entire “program”—consisting
      principally of the many individual actions referenced in the complaint, and
      presumably actions yet to be taken as well—cannot be laid before the courts for
      wholesale correction under the APA, simply because one of them is ripe for review
      [and] adversely affects [a plaintiff].

497 U.S. at 892-93. Indeed, the purpose of the APA’s discrete agency action requirement is “to

protect agencies from undue judicial interference with their lawful discretion, and to avoid

judicial entanglement in abstract policy disagreements which courts lack both expertise and

information to resolve.” Norton, 542 U.S. at 66. Here, to the extent Plaintiffs seek to “vacate

and set aside the [alleged] wholesale elimination of CDC’s COVID-19-related grants,” Compl. ¶

14,6 such a claim is precluded under the APA.

        C. In any event, Plaintiffs’ claims fail on the merits.
        Even if the Court reaches the merits, Plaintiffs fail to show that Defendants lacked

statutory authority to terminate the grants at issue or that the terminations were arbitrary and

capricious, unconstitutional, or ultra vires.

                1. Plaintiffs’ APA claims are without merit.

                    (a) Plaintiffs cannot show that Defendants lacked statutory authority.

        Plaintiffs argue that Defendants exceeded statutory authority, in violation of 5 U.S.C. §

706(2)(C), by terminating funding where “Congress specifically appropriated the funds for



6
 See also Compl. ¶ 157 (“Defendants’ Mass Termination Decision, and its implementation . . .
eliminates, wholesale, federal grant programs because they are funded through COVID-related
appropriations laws”); id. ¶ 3 (alleging that President Trump “made dismantling the federal
government’s approach to COVID-19 a priority”).
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Plaintiffs’ use during and beyond the COVID-19 pandemic.” Pl. Br. at 23. But as made clear in

the Background Section, the five appropriations statutes at issue in this case do no such thing.

The underlying Covid-19 supplemental appropriations statutes directed HHS to allocate money

for “grants” or “cooperative agreements” to “state, tribal, local, and territorial entities,” not

Plaintiffs specifically or any particular entity. These lump-sum appropriations statutes generally

specified a minimum amount to be allocated to STLTs. HHS not only abided by this instruction,

but awarded more to the STLTs than the amounts specified by Congress, by the dates specified

in the relevant appropriations statutes. By obligating the appropriated funds through grants,

HHS satisfied any duty it had under the appropriations statutes.

        Plaintiffs do not contend that HHS violated any statutory requirement. Instead, they seek

to find in congressional silence a restriction on what HHS may do once it has obligated the funds

consistent with the appropriations statutes. See id. at 24 (“One would expect Congress to speak

clearly if it intended to delegate to the Defendants the authority to terminate billions of dollars of

public health funding based on a finding that the public health emergency is over.”). But once

HHS obligated the funds through grants and cooperative agreements, it fully satisfied any

statutory requirements and the parties’ further dealings were governed by the terms and

conditions of the grants. If Congress had intended to impose additional restrictions on HHS’s

actions, it would have said so. There was no statutory violation.

                    (b) Defendants’ actions were not arbitrary and capricious

        Nor is there any merit to Plaintiffs’ four arguments that Defendants’ actions were

arbitrary and capricious.

        First, Plaintiffs argue that HHS violated its own regulations by terminating the grants “for

cause” without finding that Plaintiffs “fail[ed] to comply with the terms and conditions of the



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grant instrument.” Id. at 25. As an initial matter, HHS’s regulations are only relevant to the

extent the terms and conditions of the grants at issue parrot the regulations or incorporated them.

In any event, Plaintiffs’ argument is meritless. Both the “Termination” section of the grants’

terms and conditions as well as the regulations demonstrate that the agency may terminate grants

“for cause,” as distinct from any violation of the grant terms and conditions. Both provisions list

“for cause” as a separate basis for termination from “fails to comply with the terms and

conditions of the award” as a basis for termination. See 45 C.F.R. § 75.372(a)(1)-(2); see

Background – Part III, supra (quoting terms and conditions). Thus, these provisions make clear

that “for cause” is distinct from non-compliance, and that the agency is permitted to terminate

grants for reasons other than non-compliance.

       The agency exercised its authority to terminate the grants for cause after determining that

the purpose for which the grants were awarded was superseded by the end of the public health

emergency. The Termination Notices reflect this determination by stating that the pandemic was

over. The agency made these termination decisions years after Congress had appropriated the

underlying funding to address the public health and economic crises caused by the global

COVID-19 pandemic, see Economic Relief Related to the COVID-19 Pandemic, Exec. Order

No. 14,002, 86 Fed. Reg. 7229 (Jan. 22, 2021); White House OMB Statement of Administration

Policy, H.R. 1319 – American Rescue Plan Act of 2021 (Feb. 26, 2021), and HHS had

expeditiously provided funding to the states and local governments through many different types

of grants specifically for the purpose of addressing the COVID-19 pandemic. The grant

terminations thus comported with the express terms and conditions incorporated therein.

       Relatedly, Plaintiffs allege that Defendants failed to provide a rational explanation for

terminating the grants, but Plaintiffs mistake the standard. See Pl. Br. at 26. “Under the



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‘arbitrary and capricious’ standard the scope of review is a narrow one.” Bowman Transp., Inc.

v. Ark.-Best Freight Sys., Inc., 419 U.S. 281, 285 (1974). Even “a decision of less than ideal

clarity” will be upheld so long as “the agency’s path may reasonably be discerned.” Id. at 286.

Put differently, the agency need only articulate “a ‘rational connection between the facts found

and the choice made,’” id. at 285 (citation omitted), acting within a wide “zone of

reasonableness.” FCC v. Prometheus Radio Project, 592 U.S. 414, 423 (2021). The explanation

provided in the Termination Decisions, see supra, amply clear this bar. Rather than addressing

the agency’s explanation, Plaintiffs cite to various authorities that have no bearing on the grants

at issue.7

        Second, Plaintiffs argue that “Defendants cannot depart from their previous policy

without explanation.” Pl. Br. at 27 (citing FCC v. Fox Television Stations, Inc. 556 U.S. 502, 512

(2009)). At the outset, Plaintiffs are mistaken to assume that the “policies” they fault here—in

contrast to the more formal policies at issue in Fox Television—are subject to this doctrine at all.

In any event, the argument fails because HHS did explain its decision vis a vis the ending of the

pandemic. Plaintiffs argue that “Defendants have renewed multiple deadlines for Plaintiff Local

Governments’ grants,” id., but the HHS Grants Policy Statement explains—in connection with




7
 See Pl. Br. at 25 (citing to a 1982 administrative decision concerning 45 C.F.R. § 74.115, and a
1988 administrative decision concerning 45 C.F.R. § 74.61, without attempting to reconcile the
language used with the terms and conditions at issue here). Nor do Plaintiffs explain how a
passing citation to 45 C.F.R. §§ 75.371-375 (Remedies for Noncompliance) (cited at Pl. Br. at
25) demonstrates arbitrary and capricious action. Plaintiffs likewise fail to explain any
connection to 42 U.S.C. § 300x-55(a) (which concerns “Block Grants Regarding Mental Health
and Substance Abuse”), where none of the grants at issue here involve that program. Similarly,
Plaintiffs fail to explain how a Department of Energy regulation, 10 C.F.R. § 600.25 (cited at Pl.
Br. at 25), has any bearing on HHS/CDC grants.
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continuations and extensions—“Funding is based on adequate performance, availability of

funding, and the best interests of the federal government.” See Ex. L (emphasis added).8

       Third, and relatedly, Plaintiffs argue that “Defendants acted arbitrarily and capriciously

when they failed to account for legitimate reliance on prior interoperation of the COVID-19-

related appropriations.” Pl. Br. at 28 (citation omitted). But the APA requires the weighing of

only those interests that are “legitimate” and “serious.” See, e.g., Whitman-Walker Clinic, Inc. v.

U.S. Dep’t of Health & Hum. Servs., 485 F. Supp. 3d 1, 49 (D.D.C. 2020) (citations omitted),

appeal dismissed, 2021 WL 5537747 (D.C. Cir. Nov. 19, 2021). And again, at the time of the

grant terminations, HHS already had awarded more to STLTs than the amounts specified by

Congress, by the dates specified in the relevant statutes. So it is hard to see how Plaintiffs can

reasonably claim that they had “legitimate” and “serious” reliance interests beyond those

amounts. Moreover, with respect to Plaintiffs’ work and expenditure of funds prior to the

termination of the grants, HHS allowed Plaintiffs to draw down from funds for any work that

they already had done prior to the termination date. (See Terminations Notices).

       Last, Plaintiffs argue that, under Spirit Airlines, Inc. v. U.S. Department of

Transportation, “[a]n agency is required to consider responsible alternatives to its chosen policy

and to give a reasoned explanation for its rejection of such alternatives.” 997 F.3d 1247, 1255

(D.C. Cir. 2021) (quoting Am. Radio Relay League, Inc. v. FCC, 524 F.3d 227, 242 (D.C. Cir.

2008)). But this presupposes a formal “policy” here akin to that in Spirit, and improperly

suggests that this doctrine would apply whenever an agency changes its mind about anything.




8
 The version of the HHS Grants Policy Statement attached at Exhibit L, with effective date April
16, 2025, is in all relevant respects, for purposes of this case, the same as the preceding version
of the Grants Policy Statement.
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The Termination Notices make clear that HHS viewed the grants as unnecessary—with the end

of the pandemic, “their limited purposes has run out.” See Exs. F, G, H, I.

               2. Plaintiffs’ Constitutional law claims fail

       Finally, Plaintiffs cannot show that “Defendants’ actions contravene the principle of

separation of powers [or] the Spending Clause, [or] are ultra vires.” Pl. Br. at 19.

       First, Plaintiffs argue that Defendants have violated the separation of powers because

“[t]he Executive’s actions here directly contravene Congress’s appropriations for Plaintiffs’

public health programming.” Id. at 20. This argument is meritless, because again, the statutes in

question authorize HHS to allocate amounts to STLTs generally (not Plaintiffs specifically)

through grants, and HHS not only abided by this instruction, but it awarded more to STLTs than

the amounts specified by Congress by the dates specified in the relevant statutes. 9

       Second, plaintiffs allege that Defendants violated the Spending Clause by “retroactively”

imposing “conditions” on the grants to limit them to the duration of the COVID-19 pandemic.

See id. at 21. Again, Plaintiffs overlook that HHS complied with all requirements imposed by

Congress by allocating the specified funding to STLTs through grants. And HHS relied on the

terms and conditions of those grants in terminating the funding. The “for cause” termination

provision on which HHS relied was not imposed retroactively—it was written into the grants at

the time they were awarded.




9
  In passing, at page 20, Plaintiffs argue that under the Congressional Budget & Impoundment
Control Act of 1974, to rescind funds Congress has appropriated, the Executive must follow
rescission procedures (i.e., proposing the rescission to Congress). But plaintiffs fail to show that
there is any “recission” here in the first place triggering any obligations.
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        Finally, plaintiffs predicate their ultra vires claims against Defendants Kennedy and

Monarez upon their allegation of a violation of the separation of powers and the Spending

Clause. As already explained above, those claims are meritless.

II.     Plaintiffs Will Not Face Irreparable Harm in The Absence of an Injunction

        A showing that the movant will likely suffer an irreparable injury “is the sine qua non for

obtaining a preliminary injunction—it is what justifies the extraordinary remedy of granting

relief before the parties have had the opportunity fully to develop the evidence and fully to

present their respective cases.” Cal. Ass’n of Priv. Postsecondary Schs. v. DeVos, 344 F. Supp.

3d 158, 167 (D.D.C. 2018) (citation omitted). In this Circuit, it is a “high standard” to meet.

Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006). “[T]he

injury ‘must be both certain and great; it must be actual and not theoretical.’” Id. (quoting Wis.

Gas Co. v. Fed. Energy Regul. Comm’n, 758 F.2d 669, 674 (D.C. Cir. 1985)). And “the injury

must be beyond remediation.” Id. “The possibility that adequate compensatory or other

corrective relief will be available at a later date . . . weighs heavily against a claim of irreparable

harm.” Id. at 297–98 (quoting Wis. Gas, 758 F.2d at 674). “Bare allegations of what is likely to

occur” and “conclusory assertions of potential loss” will not suffice. Wis. Gas, 758 F.2d at 674;

Cal. Ass’n of Priv. Postsecondary Schs., 344 F. Supp. 3d at 171. “Mere injuries, however

substantial, in terms of money, time and energy necessarily expended in the absence of a stay,

are not enough.” Sampson v. Murray, 415 U.S. 61, 90 (1974). If the moving party fails to

substantiate its claim of irreparable harm, it is not entitled to injunctive relief. Chaplaincy of Full

Gospel Churches, 454 F.3d at 297.

        Plaintiffs make sweeping assertions of harm but fail to address the fundamental problem

that the relief they seek is monetary damages—the classic example of harm that can be



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remedied. At base, they want the federal government to pay money, via reinstatement of their

terminated grants. It is “well settled that economic loss does not, in and of itself, constitute

irreparable harm.” Wis. Gas, 758 F.2d at 674.

          Further, a number of the alleged harms are simply speculative—far from “certain and

great.” See id. See also Maddox Decl. ¶ 15 (“A prolonged loss of funding would force the

termination of grant-funded positions . . .”); id. ¶ 17 (“termination of these grants ‘for cause’ may

also have adverse consequences . . ..in the future . . .” (emphasis added)); Pl. Br. at 38 (“making

it more likely that work will not be compensated”); id. (“A failure to so certify may make

Nashville less competitive for future grant awards” (emphasis added)). Moreover, loss of

employment generally does not constitute irreparable injury. Sampson v. Murray, 415 U.S. 61

(1974).

III.      The Remaining Factors Favor Defendants

          The balance of equities and public interest strongly favor the federal government,

because the harm to the federal government from an injunction would be irreparable. If the

Court does not issue a preliminary injunction and Plaintiffs ultimately prevail in the case, they

can seek money damages. But the opposite is not true—if the grantees are given access to the

remaining grant funds now, and draw down the funds throughout the litigation, Defendants will

be left with no meaningful recourse even if they prevail. Accordingly, HHS will bear all the risk

if the Court enters a preliminary injunction. The Supreme Court recognized precisely that

dynamic in Department of Education when it stayed the TRO granted by the district court in that

case:

        [The states] have not refuted the Government's representation that it is unlikely to
        recover the grant funds once they are disbursed. No grantee “promised to return
        withdrawn funds should its grant termination be reinstated,” and the District Court
        declined to impose bond. . . . By contrast, the Government compellingly argues that

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      [the states] would not suffer irreparable harm while the TRO is stayed. [The states]
      have represented in this litigation that they have the financial wherewithal to keep
      their programs running. So, if [the states] ultimately prevail, they can recover any
      wrongfully withheld funds through suit in an appropriate forum. And if [the states]
      instead decline to keep the programs operating, then any ensuing irreparable harm
      would be of their own making.

145 S. Ct. at 968-69 (citation omitted and emphasis added).

        Moreover, the relevant harm to the federal government is not merely the forced

expenditure of (unrecoverable) money during the pendency of this litigation. The harm is also

the forced expenditure of money in support of causes that are inconsistent with Executive Branch

policy objectives. Put another way, it is not just a loss of money, but also a loss of control that

has been vested by statute in the Secretary, who in turn answers to the President and thus the

public at large. Forcing the government to financially support causes at odds with its own

policies, and Congress’s express purpose for the funds, inflicts a distinct and irremediable harm

on the public that goes beyond the expenditure of appropriated funds.

IV.     Any Relief Should Be Limited

        To the extent the Court grants any injunction, it should be limited to the four Local

Government Plaintiffs, and the (terminated) grants awarded to those plaintiffs (directly or

indirectly) that are specifically identified in Plaintiffs’ Motion. AFSCME’s presence in this suit

does not provide a basis for expanding any injunction, as explained below.

        A. AFSCME Does Not Have Standing

        “A plaintiff unlikely to have standing is ipso facto unlikely to succeed” on the merits and,

as such, is not entitled to pretrial injunctive relief. Elec. Priv. Info. Ctr. v. Presidential Advisory

Comm’n on Election Integrity, 878 F.3d 371, 375 n.2 (D.C. Cir. 2017). Although Plaintiffs do

not address standing in their Motion, they assert in their complaint AFSCME has both

associational and organizational standing. See Compl. ¶ 22.
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                1. Associational Standing.

        An organization has standing to bring suit on behalf of its members when (1) “its

members would otherwise have standing to sue in their own right”; (2) “the interests it seeks to

protect are germane to the organization’s purpose”; and (3) “neither the claim asserted nor the

relief requested requires the participation of individual members in the lawsuit.” Hunt v. Wash.

State Apple Advert. Comm’n, 432 U.S. 333, 343 (1977). AFSCME fails at the first step (as well

as at the third, as explained below), because the organization fails to identify any individual

member with standing in his or her own right. “It is not enough to aver that unidentified

members have been injured.” Twin Rivers Paper Co. v. SEC, 934 F.3d 607, 613 (D.C. Cir. 2019)

(quoting Chamber of Com. v. EPA, 642 F.3d 192, 199 (D.C. Cir. 2011)). Rather, the

“organization must provide ‘individual affidavits’ from ‘members who have suffered the

requisite harm.’” Id. (quoting Summers v. Earth Island Inst., 555 U.S. 488, 499 (2009)).

        Only two of AFSCME’s six declarants, Ms. Hedi Heddings and Ms. Eva Hewitt, are

members who allege injury in their own right. 10 These declarations, however, reveal that the

alleged basis of the injury is insufficient to establish standing.

        First, Ms. Heddings’ declaration shows that, notwithstanding grant termination, she still

is employed with the Alaska State Department of Health. She states that in August 2024, her

title was “Public Health Informaticist II” (Division of Public Health, Section of Public Health

Nursing) and that “the majority of funding for [her] position, including funding for the creation

of [a] new electronic health record, came from Immunization Grant Funding” from HHS. Decl.

of Heidi Heddings ¶¶ 3, 5, ECF No. 14-11. Following the termination of that funding, she states




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   The other two AFSCME members, Megan Peters-Wiseman, and John Henry, Jr., do not assert
a loss of employment or other cognizable injury.
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that she was informed of an opportunity in a different role in the Division of Behavioral Health,

and she states, “I indicated I was interested, and met with that Division. I was transferred to the

Division of Behavioral Health, and I now work as a Public Health Informaticist II in that

division.” Id. ¶¶ 10-11. Although Ms. Heddings references stress, issues with a longer

commute, and loss of the satisfaction she felt from her earlier work, id. ¶¶ 14-18, these are not

sufficient to establish injury in fact.

        Second, Ms. Hewitt states in her declaration that she was “hired as a nonpermanent staff”

at the Alaska State Department of Health, and her position was funded by Covid-related funding.

Decl. of Eva Rose Hewitt ¶¶ 3, 5, ECF No. 14-12. She continues, “I understood that my role was

nonpermanent and dependent on grant timelines. The grant I was working under ended on June

30, 2025 and paperwork had been filed requesting an extension for two more years, lasting

through June 2027.” Id. ¶ 5. She states that, due to the termination of the grant, she lost her

employment in April 2025. Id. ¶ 7. Loss of a nonpermanent position that likely would have

ended on June 30, 2025 in any event is not sufficient to show injury in fact. Moreover, any

suggestion that the grant funding Ms. Hewitt’s position would have been extended is pure

speculation.

        Because AFSCME has not identified any individual member with standing in his or her

own right, it lacks associational standing. And AFSCME also lacks associational standing

because “the claim asserted [and] the relief requested require[] the participation of individual

members in the lawsuit.” See Hunt, 432 U.S. at 343. Specifically, the claims asserted and relief

requested require identification of the specific grants at issue with respect to AFSCME members.

                2. Organizational standing




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       Alternatively, an organization may show standing to sue in its own right by satisfying the

traditional criteria applicable to individuals—i.e., a cognizable injury in fact, causation, and

redressability. To satisfy the injury-in-fact requirement, an organizational plaintiff must show

“more than a frustration of its purpose,” since the mere hindrance to a nonprofit’s mission “is the

type of abstract concern that does not impart standing.” Food & Water Watch, Inc. v. Vilsack,

808 F.3d 905, 919 (D.C. Cir. 2015) (citation omitted). Instead, for an organization to have

standing, it must have “suffered a concrete and demonstrable injury to [its] activities.” People for

the Ethical Treatment of Animals v. U.S. Dep’t of Agric., 797 F.3d 1087, 1093 (D.C. Cir. 2015)

(citation omitted). It is not enough, however, if the organization merely “diverts its resources in

response to a defendant’s actions.” FDA v. All. for Hippocratic Med., 602 U.S. 367, 395 (2024).

Otherwise, “all the organizations in America would have standing to challenge almost every

federal policy that they dislike.” Id. An organization cannot “spend its way into standing” in that

way. Id. at 394.

       Here, Plaintiffs’ Motion again says nothing about what, exactly, their theory of

organizational standing is. That alone is reason enough to reject the claim, given their burden on

this point. See Jin v. Ministry of State Sec., 557 F. Supp. 2d 131, 144 n.9 (D.D.C. 2008) (the

“court has no duty to comb through the record without direction from the parties”). And

Plaintiffs’ declarations are insufficient to show standing. See Decl. of Amy M. Spiegel ¶ 14,

ECF No. 14-13 (speculating that the loss of members from layoff results in a “diminished public

workforce to service our communities,” and the “loss of dues revenue,” and reduced strength “at

the bargaining table”); Decl. of John Henry Jr. ¶14, ECF No. 14-16 (similar); Decl. of Shaun C.

O’Brien ¶ 7, ECF No. 14-14 (“as a labor organization,” AFSCME “will dedicate resources” to

support laid-off workers). “The mere fact that an organization redirects some of its resources to



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litigation and legal counseling in response to actions or inactions of another party is insufficient

to impart standing upon the organization.” Nat’l Taxpayers Union, Inc. v. United States, 68 F.3d

1428, 1434 (D.C. Cir. 1995) (citation omitted).

       AFSCME lacks standing. Thus, its presence in this case does not provide a basis for

expanding any injunction beyond the four Local Government Plaintiffs.

       B.      The Court should not enter a nationwide injunction turning on “state and
               local employes of AFSCME members” that were allegedly “affected” by the
               termination of grants.

       Finally, apart from the standing defect, the Motion lacks the necessary specifics for any

injunction to be based on AFSCME. Plaintiffs state that AFSCME “members include public

health employees in various states and localities around the country that . . . received federal

funding from these programs.” Pl. Br. at 11. And Plaintiffs seek an order to “resume the

implementation of the grants of … state and local employers of AFSCME members that were

affected” by the grant terminations. See Pl. Br. Proposed Order at 2. But the Complaint and

Motion fail to provide any specifics needed to craft appropriately tailored relief. The moving

papers, for example, do not identify what grants would be covered.

       The Court therefore should limit any remedy as set forth above.

V.     Any Injunction Should be Stayed, and Plaintiffs Should be Required to Post a
       Reasonable Bond if an Injunction is Entered.

       To the extent the Court issues injunctive relief, the United States respectfully requests

that such relief be stayed pending the disposition of any appeal that is authorized, or at a

minimum that such relief be administratively stayed for a period of seven days to allow the

United States to seek an emergency, expedited stay from the Court of Appeals if an appeal is

authorized.



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       Last, the Court should reject Plaintiffs’ argument that they should not be required to post

a bond. Federal Rule of Civil Procedure 65(c) provides that a district court “may issue a

preliminary injunction or a temporary restraining order only if the movant gives security in an

amount that the court considers proper to pay the costs and damages sustained by any party

found to have been wrongfully enjoined or restrained.” Fed. R. Civ. P. 65(c) (emphasis added).

The “precise purpose” of such a bond is to ensure that a defendant can be fairly compensated for

injury stemming from a wrongfully granted injunction. Nat’l Kidney Patients Ass’n v. Sullivan,

958 F.2d 1127, 1134 (D.C. Cir. 1992).

       The starting point for determining the amount of the bond should be the award balance

amount for each direct grant of the Local Government Plaintiffs, discussed in the Motion, at the

time the grant was terminated, which is as follows:

                                                 Closeout            Award              Award
   Recipient            Award Number            Submitted        Balance 3/24/25    Balance 5/13/25
 Harris County,
       TX            21NH75OT000026C5                 Yes          $4,435,194        $4,005,605.21
 Harris County,
       TX            21NU58DP006986C3                 Yes          $1,034,010         $561,354.55
Kansas City, MO      21NH75OT000012C5                 Yes         $633,353.00         $516,227.25
 Nashville and
 Davidson, TN        21NU58DP006999C3                 No          $1,447,100.00      $1,130,788.28

See Legier Decl., ¶ 15. Thus, as an initial matter, the bond among should include at least

$5,469,204 for Harris County; $633,353 for Kansas City, and $ 1,447,100 for Nashville and

Davidson County.

       The bond also should include the award balance for the indirect grants of the four Local

Government Plaintiffs. Defendants presently do not have that information available, but to the

extent the Court issues injunctive relief, Defendants respectfully request that the Court order

Local Government Plaintiffs to provide this information before the issuance of any injunctive


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relief so the Court can determine the proper bond amount. Finally, to the extent the Court

awards any injunctive relief with respect to AFSCME, the Court should require AFSCME to

provide information necessary for the Court to determine the proper bond amount with respect to

any grants impacted by that relief.

                                        CONCLUSION

       The Court should deny Plaintiffs’ motion for a preliminary injunction.

DATED: May 14, 2025                          Respectfully submitted,

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